       Case 3:22-cv-00178-SDD-SDJ               Document 257-3     03/06/24 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA



 DR. DOROTHY NAIRNE, et al.

                                       Plaintiffs,

       v.                                               CIVIL ACTION NO. 3:22-cv-00178
                                                        SDD-SDJ
R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana,                        Chief Judge Shelly D. Dick
                                                        Magistrate Judge Scott D. Johnson
                                       Defendant.




                                                ORDER


       Considering the foregoing Motion for Admission Pro Hac Vice,

       IT IS HEREBY ORDERED that attorney Colin Burke be enrolled as counsel of record

for Plaintiffs in the above-captioned matter.



__________________________________                   __________________________________

Date                                                 HONORABLE SCOTT D. JOHNSON
                                                     UNITED STATES MAGISTRATE JUDGE
